                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION

DORA SIMMONS GHAZALY                                )
on behalf of herself and all others similarly       )
situated                                            )
                       Plaintiff,                   )
                                                    )
v.                                                  )      JUDGMENT
                                                    )
                                                    )      No. 5:21-CV-362-FL
FIRST NATIONAL COLLECTION BUREAU,                   )
INC, a Nevada corporation                           )
                    Defendant                       )


Decision by Court.

This action came before the Honorable Louise W. Flanagan, United States District Judge, upon
consideration of the plaintiff’s motion to remand.

IT IS ORDERED, ADJUDGED AND DECREED in accordance with the court’s order entered
July 8, 2022, more particularly described therein, that the captioned action be and hereby is
remanded to Cumberland County Superior Court.

This Judgment Filed and Entered on July 8, 2022, and Copies To:
Scott C. Harris / Patrick M. Wallace / S. Michael Dunn (via CM/ECF Notice of Electronic
Filing)
David Anthony Grassi (via CM/ECF Notice of Electronic Filing)
The Honorable Lisa Scales (via U.S. Mail at Cumberland County Clerk of Superior Court,
P. O. Box 363, Fayetteville, NC 28302)

July 8, 2022                          PETER A. MOORE, JR., CLERK

                                        /s/ Sandra K. Collins
                                      (By) Sandra K. Collins, Deputy Clerk




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